     Case 3:17-cv-01214-MMA-NLS Document 19 Filed 01/08/18 PageID.78 Page 1 of 1


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 3                             UNITED STATES DISTRICT COURT
 4                           SOUTHERN DISTRICT OF CALIFORNIA
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 6   DORI FREDERICK,                                         Case No.: 17cv1214-MMA (NLS)
 7                                          Plaintiff,
                                                             ORDER RE: JOINT MOTION FOR
 8   v.                                                      DISMISSAL OF DEFENDANT L&M
                                                             TIRE, INC. WITH PREJUDICE
 9   L&M TIRE, INC.; TEMPOE
                                                             PURSUANT TO FEDERAL RULE
     FINANCIAL, LLC; and DOES 1 through
10                                                           OF CIVIL PROCEDURE 41(a)(2)
     10,
11                                       Defendants.
                                                             [Doc. No. 18]
12
13          On January 8, 2018, Plaintiff Dori Frederick (“Plaintiff”) and Defendant L&M
14   Tire, Inc. (“Defendant L&M”) jointly moved to dismiss all claims against Defendant
15   L&M with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),1 with
16   each party to bear its own attorneys’ fees and costs. Doc. No. 18 at 2. Accordingly, this
17   case is DISMISSED WITH PREJUDICE.2 The Clerk of Court is instructed to close
18   this case.
19          IT IS SO ORDERED.
20   Dated: January 8, 2018
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25   1
       The parties cite to Federal Rule of Civil Procedure 41(a)(2), however, the Court finds Rule
26   41(a)(1)(A)(ii) more appropriate as both Plaintiff and Defendant L&M have stipulated to dismissal by
     signing the joint motion. See Doc. No. 18 at 2.
27   2
       The Court previously dismissed the case with prejudice as to Defendant TEMPOE Financial, LLC.
     See Doc. No. 17. Accordingly, dismissal of Defendant L&M results in dismissal of the case in its
28   entirety. See Docket.

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                                                                                        17cv1214-MMA (NLS)
